Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 1 of 16 Page|D #:962

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

SENG-TIONG HO AND YINGYAN

HUANG,
Plaintiffs, No. 07-CV-4305
V_ Judge Bucklo
Magistrate Judge Nolan

ALLEN TAFLOVE AND SHIH-HUI
CHANG,

Defendants.

 

 

MEMORANDUM IN SUPPORT OF DEF_I_L`NDANTS’ MOTION FOR SUMMARY
JUDGMENT

Plaintiffs claim to have discovered a new mathematical model showing how electrons
behave under certain circumstances This model undeniably is theoretical, non-patentable, and
without commercial use. Nor can Plaintiffs claim it as a trade secret, for Plaintiffs themselves
voluntarily published it to the world, M Defendants took Lv of the actions about which
Plaintiffs complain. Moreover, the Copyright Act explicitly excludes the matters about which
Plaintiffs complain. As such, the intellectual property laws provide Plaintiffs no cause of action.
The other claims Plaintiffs assert similarly fail.

Of course, our society does not permit the copying that Plaintiffs claim has transpired
without consequence On the contrary, a finding that one academic has improperly copied
another’s work can be the death knell of an academic career. But Plaintiffs already pursued that
avenue and brought accusations of plagiarism against Defendants in no fewer than three separate
forums - Northwestem University, where all parties were employed at the time, and the two

scientific organizations that published the papers about which Plaintiffs complain. All three

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 2 of 16 Page|D #:963

organizations dismissed the allegations of plagiarism. Plaintiffs, refusing to accept these three
decisions, filed this lawsuit. However, the legal system does not afford Plaintiffs a fourth bite at
the proverbial apple.

I. UNDISPUTED FACTS

A. Background

Plaintiff Ho and Defendant Taflove are professors of engineering at Northwestern
University. SMF 1111 3, 7. During the relevant period, Plaintiff Huang and Defendant Chang
were graduate students of engineering at Northwestern University. SMl~` 1111 10, 13, l4.

Scientists develop mathematical models to describe various phenomena1 SMF 11 l7.
One could refer to this as theoretical modeling. SMF 11 l7. Scientists often run experiments to
verify such models and publish papers describing the model, the experimental implementation,
and the results. SMF 11 18. Over recent decades, an alternative to experimentalism has arisen,
whereby one instead runs numerical simulations. SMF 11 19. This alternative is driven
principally by (a) the fact that some mathematical models are extremely difficult or impossible to
verify experimentally (e.g., tracking electrons) and (b) the enormous growth in the capability of
computers to run numerical simulations. SMF 11 20.

For numerical simulations, extremely complex computer code often must be created.
SMF 11 21. Also, input parameters must be selected to run the computer code. SMF 11 22. These
parameters are adjusted based on various considerations, such as the physical properties and
geometric configuration of the material being modeled. SMF 11 23. The results of such
simulations will differ if the computer code differs or any of the these inputs differ. SMF 1111 24,

25.

 

l Fact references are to the numbered paragraphs of Defendants’ Statement Of Material Facts To Which There Is No
Genuine Issue In Support Of Their Motion For Summary Judgment (“SMF”).

_2_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 3 of 16 Page|D #:964

Professor Taflove is the leading world expert (or at least one of the top few) in one
method of numerical simulations called “Finite Difference Time Domain” (“FDTD”). SMF 11 4.
Professor Taflove has been a leader in this area since 1975, coined the term “FDTD” in 1980,
published the leading textbook for FDTD in 1995, and published subsequent editions in 2000
and 2005. SMF 11 4. The societal value of FDTD is perhaps best illustrated by a current project
of Professors Vadim Backman and Taflove, where, utilizing large-scale funding support from the
National Cancer Institute, they are developing novel, minimally invasive, optical techniques that
could permit effective, low-cost, population-wide screening for early-stage colon cancer,
pancreatic cancer and lung cancer. SMF 11 5. Aside from his research, Defendant Taflove has
received the highest accolades for undergraduate teaching that Northwestern University can
bestow upon its faculty. SMF 11 6.

B. The Publications at Issue

In 1999, Defendant Shih-Hui (“Gilbert”) Chang or Plaintiff Seng-Tiong Ho (or some
combination) developed a set of mathematical equations describing the movement of two
electrons across four energy levels (the “4 Level 2 Electron Model” or “4L2E Model”). SMF 1111
26, 27 . At the time, Defendant Chang was a PhD candidate and advisee of Plaintiff Ho. SMF 11
12. Prior to 1999, Defendant Chang had worked with Defendant Taflove in developing FDTD
computer codes. SMF 11 30. In 1999, he developed computer codes to run simulations of the
4L2E Model (“Gilbert’s 1999 Code”). SMF 11 31.

ln 2000, Defendant Chang provided his code to a postdoc working for Plaintiff Ho,
named Seongsik Chang (“Seongsik”). SMF 11 32. Thereafter, Seongsik and Plaintiff Yingyan
Huang, then a M.S. degree candidate and advisee of Plaintiff Ho, made modifications to

Gilbert’s 1999 Code, which they then used in their subsequent work in 2001 - 2002, discussed

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 4 of16 Page|D #:965

below. SMF 11 33. Indeed, in her M.S. Thesis, Plaintiff Huang wrote, “Many thanks to Gilbert
Chang, from whom we got the early version of the FDTD code. This is where all our works is
[sic] built on.” SMF 11 37.

ln 2001, Seongsik, Plaintiff Huang, Defendant Chang and Plaintiff Ho co-authored a
PowerPoint presentation discussing the 4L2E Model, listing its operating equations, and
discussing a simulation (“2001 Presentation”). SMF 1111 34-35. This was the first public
presentation of the concept, formulation, and validation of the 4L2E Model. SMF 11 35.

In May 2002, Plaintiff Huang published her Masters degree thesis (“Huang M.S.
Thesis”), with Plaintiff Ho’s permission. SMF 11 36. In early 2002, Defendant Chang switched
advisors, from Plaintiff Ho to Defendant Taflove. SMF 11 12. In 2003, Defendant Chang
published (with Defendant Taflove as a co-author) a short article for a conference publication
(“APS Paper”), and a more detailed journal article in August 2004 (“Optics Express Article”).
sMF 1111 40-42.

Pages 6-12 of the Huang M.S. Thesis describe the 4L2E Model, as do pages l-3 of the
APS Paper and 2-5 of the Optics Express Article. SMF 1111 43-46. Pages 6-12 of the Huang M.S.
Thesis contain the equations that Plaintiff Ho claims to have developed by 1999. SMF 1111 38-39.

Pages 13 - 28 and 29 - 32 of the Huang M.S. Thesis describe superradiance and reduced
medium method, which are not discussed in the APS Paper or the Optics Express Article. SMF
1111 47-48. Pages 33-36 of the Huang M.S. Thesis discuss her simulation results, which are
different than the simulation results discussed in the APS Paper and the Optics Express Article,
as the APS Paper and Optics Express Article used different computer code and different
parameters than the Huang M.S. Thcsis. SMF 1111 49-53.

Neither Defendant received any payments for the APS Paper or the Optics Express

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 5 of 16 Page|D #:966

Article. SMF 11 54. Neither Defendant physically took any tangible property of Plaintiffs. SMF
11 55. Plaintiffs did not rely to their detriment on any statement or action of any Defendant, as
they were not deceived by Defendants. SMF 11 56. The 4 Level 2 Electron Model has no
commercial use and was publicly available before the Defendants took any of the actions about
which Plaintiffs complain. SMF 1111 36, 57.

C. The Plagiarism Allegations and Aftermath

In 2004 - 2005, Plaintiffs filed formal charges, accusing Defendants of plagiarism, with
Northwestern University, the Optical Society of Arnerica (which published the Optics Express
Paper) and lnstitute of Electrical and Electronics Engineers (which published the APS Paper).
SMF 11 58. Scientists at each of these three organizations reviewed the allegations, and all three
organizations dismissed Plaintiffs’ allegations of plagiarism. SMF 11 59. Plaintiffs asked each of
these three organizations to reconsider their decisions, and each of them refused to do so. SMF 11
60.

In 2005 , Defendant Taflove published the third edition of his textbook on FDTD. SMF 11
61. Within its 1006 pages is a 5 page discussion of The 4L2E Model, which cites both the
Huang M.S. Thesis and the Optics Express Article. SMF 11 62. Plaintiffs do not contend that this
book infringes on their copyright rights. SMF 11 63.

In 2006, Plaintiffs published an article about a multi-level multi-electron model, utilizing
and building upon the Huang M.S. Thesis and Ho’s notebooks, citing these, but not citing the
APS Paper or the Optics Express Article. SMF 1111 65-66.

II. ARGUMENT
A. The Summary Judgment Standard

The Supreme Court has clearly and unequivocally confirmed that the summary judgment

procedure provided for in Federal Rule of` Civil Procedure 56(c) “is properly regarded not as a

_5_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 6 of 16 Page|D #:967

disfavored procedural shortcut, but rather as an integral part of the F ederal Rules.” See Celotex
Corp. v. Catrett, 477 U.S. 317, 327, 91 L.Ed.2d 265 (1986); see also Anderson v. Liberly Lobby,
Inc., 477 U.S. 242, 247, 91 L.Ed.2d 202 (1986); Matsushita Elec. Int’l Co., Ltd. v. Zenith Radio
Corp., 475 U.S. 574, 586, 87 L.Ed.2d 460 (1986). “In determining whether a genuine issue of
material fact exists, courts must construe all facts in the light most favorable to the non-moving
party and draw all reasonable and justifiable inferences in favor of that party.” Debs v.
Northeastern Illinois Univ., 153 F.3d 390, 394 (7th Cir.l998).

Substantive law determines which facts are “material;” that is, those facts which might
affect the outcome of the suit under the governing law. See McGinn v. Burlington Northern R.R.
Co., 102 F.3d 295, 299 (7th Cir.l996). Consequently, a dispute over irrelevant or unnecessary
facts does not preclude summary judgment See Hardin v. S.C. Johnson & Son, Inc., 167 F.3d
340, 344 (7th Cir. 1999). With regard to the “genuine issue” requirement, the Supreme Court
has emphasized that the party opposing summary judgment may not simply rest on its pleadings,
but must provide sufficient evidence such that a reasonable trier of fact could return a verdict for
the non-moving party. Ana'erson, 477 U.S. at 247; Matsushita, 475 U.S. at 486.

B. Plaintiffs’ Copyright Claim Fails

Count I of Plaintiffs’ Complaint, copyright infringement, fails because the material
Plaintiffs claim was copied is not protectable via copyright; and even if it were copyrightable,
Chang would own any relevant copyright rights. Any claim of copyright infringement on the
APS Paper, published in 2003, is barred by the three year statute of limitations (17 U.S.C. §502),
as the lawsuit was filed July 31, 2007. Thus, the discussion below focuses on the Optics Express
Article (though the same reasoning would apply to the APS Paper and Professor Taflove’s

book).

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 7 of 16 Page|D #:968

l. The Mathematical Model At Issue Is Not Copyrightable

Copyright law exists to protect the manner of literary presentation, not the substance of
scientific discovery. Yet, the parties to this case are scientists, not poets. Plaintiffs claim to have
discovered and developed a new mathematical model of how electrons behave under certain
circumstances Any value of this work lies in the discovery and application of ideas and is not
legally protected, absent a legitimate patent or trade secret protection.

Mathematical models, equations, or principles are, as a matter of law, not copyrightable
As the Copyright Act itself proclaims:

In no case does copyright protection for an original work of authorship extend to

any idea, procedure, process, system, method of operation, concept, principle, or

discovery, regardless of the form in which it is described, explained, illustrated, or
embodied in such work.

17 U.S.C. § 102(b).
This has been well settled since the 19th Century, when the Supreme Court, in the seminal
opinion on the prohibition of extending copyright to such matters, stated:
The copyright of a work on mathematical science cannot give to the author an
exclusive right to the methods of operation which he propounds, or to the
diagrams which he employs to explain them, so as to prevent an engineer from
using them whenever occasion requires. '[he very object of publishing a book on
science or the useful arts is to communicate to the world the useful knowledge

which it contains. But this object would be frustrated if the knowledge could not
be used without incurring the guilt of piracy of the book.

Baker v. Selden, 101 U.S. 99, 103 (1879).

As the Eleventh Circuit has explained, copyright protection cannot extend to such models
or formulas because, “to grant copyright protection to the first person to devise the formula
effectively would remove that mathematical fact from the public domain.” Mi T ek Holdings, Inc.
v. Arce Engineering Co., Inc., 89 F.3d 1548, 1557 fii. 20 (l lth Cir. 1996); Dimension D, LLC v.

True, 2006 WL 106]952, *4 (M. D. Ala. 2006) (“Copyright protection is not generally available

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 8 of 16 Page|D #:969

for a mathematical formula or al gorithm.”).

This tenet of copyright law has become known as the “merger doctrine” - that an
expression is not protectable where it is one of only a few ways (or the only way) to express an
idea. The “merger doctrine” has been accepted and applied in the Seventh Circuit Assessment
Technologz`es of WI, LLC v. WYREa'ata, Inc., 350 F.3d 640, 643 (7th Cir. 2003). Where an idea
itself is inextricable from the expression of the idea, the two are said to have “merged” and the
expression is not subject to copyright Id.

Finally, the Copyright Office itself explains that such material is not subject to copyright
protection. Its “Copyright Office Circular 3l” states that: “Copyright protection is not available
for ideas or procedures for doing, making, or building things; scientific or technical methods or
discoveries; business operations or procedures; mathematical principles; forrnulas, algoritth; or
any concept, process [or] method of operation.”

The work that Plaintiffs lay claim to in this matter - a scientific model for how electrons
behave - is precisely the type of information the Copyright Act, the Courts, and the Copyright
Office have said cannot be protected by copyright As Plaintiff Huang repeatedly admitted in her
deposition, it is the substance, not the manner of expression, that is at issue:

Q. So substantively, those . . . two ideas as described in your master’s thesis
and the Optics Express paper are the same?

Yes.
The substance, I take it, is more important than the way you showed it?

Yes....

'.OP>@.>

So the fact that the Optics Express article may use some slightly different
symbols or different symbols to describe the same mathematical concepts,
that difference doesn’t make you feel any better, because it’s the substance
of the equations that’s important, correct?

A. Yes. (SMF 11 39.)

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 9 of 16 Page|D #:970

If parties were permitted to copyright mathematical models, then any scientist seeking to
discuss predecessors’ work and take that work to the next level would be precluded from doing
so, unless s/he obtained each predecessor’s permission Such a regime would create a
fundamental impediment to the development of the body of human knowledge. Fortunately,
such an impediment is not contemplated by the Copyright Act, and Count I should be dismissed.

2. Even If The Relevant Material Were Copyrightable, Chang Would
Have Rights to that Material

Defendant Chang was a co-author in the 2001 Presentation and, as such, has ownership
rights over the 4L2E Model. “Whether a joint work is created by joint authorship or in some
other way, the authors are co-owners of copyright in the work.” Leaffer, Understanding
Copyright Law (1990). “A joint owner may, without obtaining the consent of the other joint
owners, either exploit the work himself, Weinstein v. Univ. of Ill., 811 F.2d 1091 [at 1096] (7th
Cir. 1987) (joint owner may prepare and publish derivative work), or grant a nonexclusive
license to third parties. Meredith v. sz'th, 145 F.2d 620 [at 621] (9th Cir. 1944).” Nimmer on
Copyright, Section 6.10[A]. Therefore, Chang, as co-author of the 2001 Presentation of the 4L2E
Model, had the right to exploit the work himself and permit Taflove to do the same, precluding
Plaintiffs’ copyright claims.

C. Plaintiffs’ False Designation Of Origin Claim Fails

Count II of Plaintiffs’ Complaint alleges that Defendants have used Plaintiffs’ works
without attribution, which has “caused and [is] likely to continue to cause confusion or to cause
mistake or to deceive the public as to the origin of the subject works in violation of the Lanham
Act, 15 U.S.C. § 1125.” Plaintiffs thus claim that the alleged violation of their intellectual
property rights constitutes a Lanham Act violation.

Plaintiffs’ Lanham Act claim is based on a fundamentally mistaken view of what is

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 10 of 16 Page|D #:971

prohibited by that Act. The Lanham Act prohibits the “passing off” of goods, not ideas. The
United States Supreme Court, in Dastar Corp. v. Twentieth Centurjy Fox, 123 S.Ct. 2041 (2003)
expressly refused to grant Lanham Act protection to ideas, stating:

But as used in the Lanham Act, the phrase “origin of goods” is in our view

incapable of connoting the person or entity that originated the ideas or
communications that “goods” embody or contain.

Id. at 2047; see also Bretford Mfg., Inc. v. Smith System Mfg. Corp., 419 F.3d 576, 580 (7th Cir.
2005).

The Supreme Court thus made it clear that the Lanham Act does not protect intellectual
property rights, explaining that “In general, unless an intellectual property right such as a patent
or copyright protects an item, it will be subject to copying.” Dastar, 123 S.Ct.. at 2048, quoting
FrafFix Devices, Inc. v. Marketing Displays, Inc., 532 U.S. 23, 29 (2001). Thus, the Court held
that even if the plaintiff had falsely represented itself to be the originator of a creative work (a
video), that would not be a Lanham Act violation. Id. at 2049 Indeed, the Court specifically
stated that the Lanham Act does not create a cause of action for plagiarism. Id. at 2049. That is
precisely what Plaintiffs seek to do here, and thus, their claim must be dismissed

D. Plaintiffs’ Unfair Competition Claim Fails

Count Ill of Plaintiffs’ Complaint alleges unfair competition and deceptive trade

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practices based on the same alleged “infiingemen , plagiarism,” and “passing off” conduct
described above Common law claims for unfair competition and deceptive trade practices are
subject to the same analysis as claims under the Lanham Act. SB Designs, Inc. v. Reebok
International, LTD, 338 F.Supp.2d 904, 914 (N.D. lll., 2004); Bob Cereden & Associates v.
Infosoft, Inc., 326 F.Supp.2d 876, 880 (N.D. lll., 2004); World Impressions, Inc. v. McDonald’s
Corp., 235 F.Supp.2d 831, 841 (N.D. Ill., 2002). Thus, as Plaintiffs cannot make out a claim for

false designation under the Lanham Act (See Section C, supra), their unfair competition claim

_10_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 11 of 16 Page|D #:972

also fails.

E. Plaintiffs’ Conversion Claim Fails

Count IV of Plaintiffs’ Complaint alleges that Defendants engaged in “conversion” by
publishing Plaintiffs’ work and “passing off’ that work as Defendants’ own. This count is
spuriousl Plaintiffs do not claim that Defendants stole any specific chattel or personal property
(a notebook, a paper, etc.) from them. Rather, they again claim that Defendants stole their ideas
and passed them off as Defendants’ own. Under Illinois law, this is not conversion

As the Illinois Supreme Court has explained, “an action for conversion lies only for
personal property which is tangible, or at least represented by or connected with something
tangible.” In re Thebus, 483 N.E.2d 1258, 1260; 91 Ill. Dec. 623, 625 (Ill. 1985). Similarly, as
the Seventh Circuit has explained, one who takes the original and copies from another may be
subject to a conversion claim, because s/he has completely deprived the owner of any ability to
use the document FMC Corp. v. Capz'tal Cities/ABC, Inc. 915 F.3d 300, 303-304 (7th Cir. 1990).
However, one who takes a copy and leaves the original cannot be held liable under a conversion
theory. Id.

In the present case, Plaintiffs do not contend that the Defendants took any physical copies
of their work, much less the originals, and their conversion claim thus fails.

F. Plaintiffs’ Fraud/Misrepresentation Claim Fails

Count V of Plaintiffs’ Complaint alleges that, when Defendants presented their 2004
Article to the Optics Express Joumal for publication, Defendants “fraudulently misrepresented”
to the Journal that they were the original authors of the Work. This does not state a claim for
fraud. Under Illinois law, the elements of fraud include the defendant’s intent that the statement
induce the plaintiff to act and the plaintiffs detrimental reliance on the statement Suburban 1,

Inc. v. GHS Mortgage, LLC, 833 N.E.2d 18, 21-22; 295 Ill. Dec. 536, 539 (Ill. App. 2d Dist.

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Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 12 of 16 Page|D #:973

2005). Here, Plaintiffs have failed to prove (or even allege) either of these two elements
Plaintiffs do not allege that Defendants made any false statements to Plaintiffs, sought to entice
Plaintiffs to act, or that they (Plaintiffs) relied on any misrepresentation about the authorship of
Defendants’ article; on the contrary, they admit that they were not misled. Instead, Plaintiffs
contend that third parties, the publishing journals, were misled.

Suburban 1, supra, presented a similar scenario. There, a broker claimed common law
fraud against a mortgage company for making false statements to certain home sellers. Id. The
sellers, relying on the false statements, lost the opportunity to sell their house, resulting in the
broker losing the opportunity to earn a commission on the sale. The court ruled that the broker
could not sue for fraud as he, himself, had not relied on the false statements Id.,‘ see also People
ex rel Peters v. Murphy-Night, 618 N.E.2d 459, 466; 187 ]]l.Dec. 868, 875 (Ill. App. lst Dist.,
1993). Here, Plaintiffs are unable to make out a claim for fraud based on alleged
misrepresentations made to others and upon which Plaintiffs never relied.

G. Plaintiffs’ Trade Secrets Claim Fails

Count VI of Plaintiffs’ Complaint alleges that Defendants misappropriated trade secrets.
The Illinois Trade Secrets Act provides that a trade secret must (a) have economic value, (b)
derive that economic value by being a secret and (c) be subject to reasonable efforts by the party
claiming protection to keep it a secret 765 ILCS 1065/2(d); Gillis Associated Ina’ustries, Inc. v.
cari-All Inc., 564 N.E.2d 881, 885-86; 151 Ill.Dec. 426, 430-31 (111. App. 1St Dist. 1990)
(refusing trade secret protections where the plaintiffs failed to take affirmative steps to preserve
secrecy); Del Monte Fresh Produce, N.A., Inc. v. Chiquz'ta Brants Int’l, Inc., 616 F.Supp.2d 805,.
820 (price information disclosed by a business to its customers is not a trade secret due to
disclosure by plaintiff).

Plaintiffs’ trade secrets claim is frivolous. The 4L2E Model has no economic value and it

_12_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 13 of 16 Page|D #:974

is not a secret Moreover, far from taking steps to guard the secrecy of this alleged “trade
secre ,” such as obtaining a nondisclosure agreement (SMF 11 28), Plaintiffs actually took the
affirmative step of publishing it - making it available to anyone who wanted to see it, before
Defendants took any of the actions at issue Plaintiffs’ trade secrets claim thus fails.

H. The Copyright Acts Preempts All Counts Other Than CountI

Counts ll - VI fail for the additional reason that they are preempted by the federal
Copyright Act of 1976, 17 U.S.C. § 101 (“Act”), which states:

[A]ll legal or equitable rights that are equivalent to any of the
exclusive rights within the general scope of copyright as specified
by section 106 in works of authorship that are fixed in a tangible
medium of expression and come within the subject matter of
copyright as specified by sections 102 and 103, Whether created
before or after that date and whether published or unpublished, are
governed exclusively by this title. Thereafter, no person is entitled
to any such right or equivalent right in any such work under the
common law or statutes of any State.

17 U.S.C. § 301(a).

To show that a claimed legal right is not equivalent to copyright, the right must not be
“infringed by the mere act of reproduction, performance, distribution or display.” Baltimore
Orioles, Inc. v. Major League Baseball Players Ass’n, 805 F.2d 663, 677 (7th Cir. 1986);
Marobie-FL, Inc. v. National Ass’n of Fire Equz'p. Distribs., 983 F. Supp. 1167, 1180 (N.D. lll.
1997); Reinke & Assoc. Architects Inc. v. Clwcton, 2003 WL 1338485, *2 (N.D. Ill. 2003); see
also Bonito Boats, Inc. v. Thuna'er Craft Boats, Inc., 489 U.S. 141, 149 (1989)(state law cannot
supplement federal patent law by providing additional property rights); Waner v. F ord Motor
Co., 331 F.3d 851, 856 (Fed. Cir. 2003)(same).

All of Plaintiffs’ non-copyright claims are preempted because they simply state

alternative legal theories of recovery for Defendants’ alleged copying of Plaintiffs’ work. The

_13_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 14 of 16 Page|D #:975

language of the complaint itself is telling:

(i) Second cause of action for false designation of origin: “As a result of
Defendants' use of Plaintiffs' works and failure to provide any attribution to
Plaintiffs, Defendants have caused and are likely to continue to cause
confusion. . .” (Complaint11 35).

(ii) Third cause of action for unfair competition: “Defendants have thereby been
engaging in unfair and deceptive trade practices by palming off the
infringing works as original works, and in many respects, by characterizing
themselves as authors.” (Id. at 11 38).

(iii) Fourth cause of action for conversion: “Defendants misappropriated the works
by publishing said works and text in the Article as aforesaid. . .” (Id. at 11 42).

(iv) Fifth cause of action for fi“aud/misrepresentation: “When they submitted the
Article for publication, Defendants knew they were not the original authors
of the ideas in the Article.” (Id. at 11 44).

(v) Sixth cause of action for misrepresentation [sic],of trade secrets: “By the acts
set forth above [unauthorized publication without attribution], Defendants
misappropriated Plaintiffs' trade secrets.” (Id. at 11 49).

As this list clearly demonstrates, in Counts II-VI Plaintiffs simply restate, in five different
ways, the allegation that Defendants published Plaintiffs’ work without permission and without
giving Plaintiffs credit The Copyright Act is Plaintiffs’ only avenue for redress for these
allegations

The Courts have routinely dismissed similar claims. For example, the Reinke court
dismissed plaintiff's unfair competition claim in which plaintiff alleged that defendant
intentionally and falsely designated the work as its own, confused the public, and caused a third
party to rely on the misrepresentation Ia’. citing Marobie-FL, 983 F. Supp. at 1180. Accord,
Lacour v. T ime Warner, 2000 WL 688946 at *8 (N.D. ]]l. May 22, 2000) (“The failure to award
[the author] credit and any resulting confusion or deception of consumers do not amount to
affirmative misrepresentations about the origin of the [work]. 'Ihey represent nothing more than

the inherent misrepresentation that accompanies unauthorized copying and reproduction of

_14_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 15 of 16 Page|D #:976

another’s copyrighted work.”). Likewise, in Cassetica Software, Inc. v. Computer Scis. Corp.,
2009 WL 1703015, *5 (N.D. Ill. June 18, 2009), the Court dismissed a conversion claim based
on the alleged unauthorized reproduction of work. Here, Counts II-VI similarly should be
dismissed

III. CONCLUSIGN

As set forth above, Plaintiffs have failed to raise any issue of material fact regarding any
of the claims they have brought against the Defendants.2 As such, their claims should be
dismissed with prejudice

/s/ David K. Haase
David K. Haase (#6201278)

 

David K. I-Iaase (#6201278)
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2 Plaintiffs bring Count VII for an “accounting.” Obviously, as each of the substantive counts of the Complaint fail,
there should be no accounting

_15_

Case: 1:O7-cv-O4305 Document #: 81 Filed: 09/10/09 Page 16 of 16 Page|D #:977

CERTIFICATE OF SERVICE

David K. Haase, an attorney, certifies that on September 10, 2009, a copy of the
Memorandum In Support of Defendants’ Motion for Summary Judgment was filed With the
Clerk of the Court using the CM/ECF system Which will send notification of such filing to the
following:

J ames K. Borcia
Si-Yong Yee
Tressler, Soderstrom, Maloney & Priess, LLP

233 South Wacker Drive, 22rml Floor
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/s/ David K. Haase
David K. Haase

